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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RYAN M. PADDICK                                 :     CIVIL ACTION
     Movant                                     :
     v.                                         :     NO.: 09-4285
                                                :
SHENECQUA BUTT; THERESA HOWARD; and.            :
ELLEN BRONSON, a/k/a ELLEN BROWN                :
      Respondents                               :
___________________________________________________________________________
RYAN M. PADDICK                                 :     CIVIL ACTION
      Movant                                    :
v.                                              :     NO.: 13-374
                                                :
THERESA HOWARD                                  :
      Respondent                                :

                                        ORDER

      AND NOW, this 27th day of April, 2018, upon consideration of the Motions for

Recognition and Enforcement of Lien filed by Ryan Paddick against his former clients

Shenecqua Butt, Theresa Howard, and Ellen Brown (09-4285, Doc. 306 & 13-384, Doc. 117);

the Motion for Recognition and Enforcement of Lien filed by Butt against Paddick and Tanya

Mitchell (09-4285, Doc. 329); and the Motions for Recusal filed by Brown, Butt, and Howard

(09-4285, Doc. 343 & 13-374, Doc. 152), and for the reasons set out in this Court’s

accompanying Memorandum and Opinion, IT IS HEREBY ORDERED THAT:


          1. The Motion for Recusal is DENIED.

          2. Paddick’s Motion for Recognition and Enforcement of Lien is GRANTED and

             he is AWARDED the sum of $54,562.73 for work done under the Contingency

             Fee Agreement. His claim to the amount of $13,757.50 for work under the

             Appellate Agreement is DENIED.
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 3. Butt’s Motion for Recognition and Enforcement of Lien is DENIED for lack of

    jurisdiction under 28 U.S.C. § 1367.

 4. As custodian of the escrow account pursuant to our December 28, 2017 Order

    (09-4285, Doc. 321 & 13-374, Doc. 132), Thompson SHALL RELEASE funds

    in accordance with this Order within 10 days from today’s date.


                                           BY THE COURT:


                                           _/s/ David R. Strawbridge, USMJ________
                                           DAVID R. STRAWBRIDGE
                                           UNITED STATES MAGISTRATE JUDGE
